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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             December 16, 2020
                                                                              David J. Bradley, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        FREDRIC N.                    §   CIVIL ACTION NO.
        ESHELMAN,                     §   4:20-cv-04034
                   Plaintiff,         §
                                      §
                                      §
               vs.                    §   JUDGE CHARLES ESKRIDGE
                                      §
                                      §
        TRUE THE VOTE INC,            §
                  Defendant.          §

                                    ORDER
           Plaintiff Fredric N. Eshelman has filed a motion for
       expedited discovery. Dkt 11.
            The motion doesn’t comply with this Court’s procedures.
       Section 15(c) requires parties to submit a letter requesting
       permission before filing any motion regarding discovery disputes.
       The letter must “[s]pecify the conference between lead counsel
       and summarize the results.”
           The motion for expedited discovery filed by Plaintiff Fredric
       N. Eshelman is STRICKEN.
            Eshelman may submit a letter that complies with Section 15
       of the Court’s procedures. Defendant True the Vote, Inc must
       file a responsive letter within two days of actual receipt of such
       letter.
          The Court will consider the good faith of the parties and
       compliance with Rule 11 in its review of the letters.
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          SO ORDERED.
          Signed on December 16, 2020, at Houston, Texas.



                                Hon. Charles Eskridge
                                United States District Judge




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